







THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        In the Interest
          of Justin G., a minor under the age of seventeen, Appellant.
      
    
  


Appeal From Laurens County
Billy A. Tunstall, Jr., Family Court Judge

Unpublished Opinion No. 2008-UP-492
  Submitted August 1, 2008  Filed August
18, 2008&nbsp;&nbsp;&nbsp; 

APPEAL DISMISSED


  
    
      
        Deputy Chief Attorney for Capital Appeals Robert M. Dudek, of Columbia, for Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney
          General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all
          of Columbia; and Solicitor Jerry W. Peace, of Greenwood, for Respondent.
      
    
  

PER CURIAM:&nbsp; Justin G., a minor, appeals his guilty
  pleas to second-degree burglary and simple assault and battery. &nbsp;Justin argues
  that his guilty pleas failed to comply with Boykin v. Alabama, 395 U.S.
  238 (1969).&nbsp; After a thorough
  review of the record pursuant to Anders v. California, 386 U.S. 738
  (1967), and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we
  dismiss Justins appeal and grant counsels motion to be relieved.[1]
APPEAL DISMISSED.
KONDUROS, J., CURETON and GOOLSBY, A.J.J., concur. 


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

